      Case 1-25-41368-jmm               Doc 10       Filed 04/01/25    Entered 04/01/25 12:42:31




                                                            HEARING DATE AND TIME: April 16, 2025 at 10:30 a.m.
                                                            OBJECTION DEADLINE: April 9, 2025 at 4:00 p.m.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------ x
In re:
                                                                  Chapter 11
AVON PLACE LLC

                                                                  Case No.: 25-41368-jmm

                                         Debtor.
------------------------------------------------------ x

                               NOTICE OF HEARING ON
           MOTION OF SECURED CREDITOR 44 AVONWOOD ROAD CREDIT LLC
                FOR AN ORDER GRANTING RELIEF FROM AUTOMATIC STAY
                           UNDER 11 U.S.C. §§ 362(d)(1) and (2)

         PLEASE TAKE NOTICE that a hearing shall be held on April 16, 2025 at 10:30 a.m. (ET) on

the motion filed by 44 Avonwood Road Credit LLC seeking Relief from the automatic stay pursuant to

11 U.S.C. §§ 362(d)(1) and (2) (the “Motion”) [ECF No. 9]. The hearing shall be held before the

Honorable Jil Mazer-Marino, United States Bankruptcy Judge, in Courtroom 3529 at the United States

Bankruptcy Court for the Eastern District of New York, 271-C Cadman Plaza East, Brooklyn, New York

11201-1800.

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion must be in writing

and filed with the Bankruptcy Court by April 9, 2025 at 4:00 p.m. (ET) (the “Objection Deadline”)

through the Court’s electronic filing system. Instructions for electronically filing an objection can be

found at www.nyeb.uscourts.gov. A copy of the objection must also be served, so as to be received by the

Objection Deadline
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               PLEASE TAKE FURTHER NOTICE, that you may appear at the hearing

in person, by phone or by videoconference. Those intending to appear at the hearing must

register with eCourt Appearances no later than two days prior to the hearing. The phone

number or video link for the hearing will be emailed only to those that register with eCourt

Appearances in advance of the hearing. Instructions for registering with eCourt

Appearances can be found at https://www.nyeb.uscourts.gov/node/2126. If you do not have

internet access or are otherwise unable to register with eCourt Appearances, you may call or

email Judge Mazer-Marino’s courtroom deputy for instructions at (347) 394-1844 or

JMM_Hearings@nyeb.uscourts.gov.

               PLEASE TAKE FURTHER NOTICE that the hearing on the Motion may

be adjourned without notice other than an announcement at the hearing.




Dated: April 1, 2025
       New York, New York


                                                THOMPSON COBURN LLP

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